Case: 1:22-cv-03773 Document #: 259 Filed: 02/16/24 Page 1 of 2 PageID #:3593

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Michael Williams, et al.
                                  Plaintiff,
v.                                                    Case No.: 1:22−cv−03773
                                                      Honorable Lindsay C. Jenkins
City Of Chicago, et al.
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, February 16, 2024:


         MINUTE entry before the Honorable Lindsay C. Jenkins: Defendant City of
Chicago's motion to dismiss [235] is denied. To survive a motion to dismiss on a Monell
claim, a plaintiff must plead facts that plausibly suggest the deprivation of a constitutional
right stemming from a municipal action, like a deliberate policy or custom, that acted as
the moving force behind the deprivation. Thomas v. Neenah Joint School District, 74
F.4th 521, 524 (7th Cir. 2023). Municipal liability rests on: (1) an express policy that
causes a constitutional deprivation when enforced; (2) a widespread practice that is so
permanent and well−settled that it constitutes a custom or practice; or (3) an allegation
that the constitutional injury was caused by a person with final policymaking authority.
Spiegel v. McClintic, 916 F.3d 611, 617 (7th Cir. 2019) (quoting Estate of Sims ex rel.
Sims v. County of Bureau, 506 F.3d 509, 515 (7th Cir. 2007)). Monell claims are not
subject to a more stringent pleading standard than any other claim. White v. City of
Chicago, 829 F.3d 837, 84344 (7th Cir. 2016), and there is no bright line rule defining a
"widespread custom or practice." Thomas v. Cook County Sheriff's Dept., 604 F.3d 293,
303 (7th Cir. 2010). Here, the SAC sufficiently alleges, among other things, that the City
has (a) an express policy and widespread practice of making unconstitutional investigatory
stops based on unreliable, untested information gleaned from ShotSpotter without
independent corroboration that gunfire actually occurred; (b) that the City has failed to
train officers on the need to obtain corroboration before detaining an individual and that
the failure to train has allowed officers to improperly rely on ShotSpotter reports despite a
lack of testing; and (c) that "key policymakers" have personal knowledge of ShotSpotter's
improper use. [See, e.g., Dkt. 214 at paras. 11, 40−44, 90, 107−122, 123−137, 146−157,
460−463, 478−485.] These (and many other) allegations in the SAC are factual in nature,
and they satisfy the relevant pleading standard. The SAC also alleges that the technology
results in hundreds of illegal stops, including that of Defendants Scruggs and Ortiz, among
others. As to Defendant Williams, it is true that his Monell claim rests on narrower
grounds, but he has adequately alleged that the City failed to appropriately train officers
and that the City's directive to officers to use ShotSpotter when investigating shootings
(despite its purported unreliability) constitutes a viable failure−to−train Monell claim. The
Court also denies Defendant's request to dismiss the Equal Protection claim, which
requires Plaintiffs to allege that Defendants' actions had a discriminatory effect and were
motivated by a discriminatory purpose. Chavez v. Ill. State Police, 251 F.3d 612, 63536
Case: 1:22-cv-03773 Document #: 259 Filed: 02/16/24 Page 2 of 2 PageID #:3594

(7th Cir. 2001). The SAC alleges that placement decisions concerning where and how to
use SpotShotter have discriminatory effects, including through an increase in unlawful
police encounters among minority residents. [Dkt. 214 at paras. 123−172, 200−205.] At
summary judgment, Plaintiffs may or may not be able to establish a discriminatory effort
or that use of the technology was motivated by a discriminatory purpose, but the SAC
passes muster at the pleadings stage. Finally, dismissal of the Illinois Civil Rights Act is
not appropriate. An ICRA disparate−treatment claim need only "identify a specific [ ]
practice, allege its causation of the disparate impact, and give Defendants fair notice of the
claim"; the complaint need not allege statistical support to survive a motion to dismiss.
McQueen v. City of Chicago, 803 F. Supp. 2d 892, 906−907 (N.D. Ill. 2011). Here, the
SAC identifies a specific practice: deliberate placement of ShotSpotter in selected police
districts with high minority resident populations. [Dkt. 214 at paras. 510−511.] And the
SAC alleges that the deployment "produces a disparate harm" including by subjecting
minority residents to increased police encounters, and slowing response time to 9−1−1
calls, among other alleged harms. [Id. at paras. 19, 512.] The motion is denied. Mailed
notice. (jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
